         Case 1:21-cr-00291-ABJ Document 84-12 Filed 10/18/21 Page 1 of 1




I have known Mr. Thomas Sibick since January 2018 when he became employed in Niagara Falls where I
was working as the Assistant Director of Rehabilitation/Physical Therapist Assistant. Mr. Sibick was the
Business Office Administrator and when working with him for 1 1/2 years he would always be one of the
hardest working employees in the building. Many of times residents living at the facility would tell me
that they liked him a lot. After about a year, the corporate team for our facility at the time even had him
oversee other buildings business offices. While working with Mr. Sibick we would go out with other staff
members for food and drinks on a routine basis. We also had many good times together going to
concerts with his personal friends. When I left Niagara in October 2019 for a full-time Director position,
Mr. Sibick would call/text numerous times checking on how I was doing and if I liked the new position.
At the beginning of 2021, Mr. Sibick contacted me about him completing his internship he needed at
one of my nursing facilities. I set up an interview with the Administrator and the interview was a great
success with the Administrator planning on hiring him. Thomas Sibick has always been very reliable
professionally as a co-worker and a good person/friend over my time knowing him.



Andrew Joksimovic
